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                                          UNITED STATES DISTRICT COURT
                                         CENTRAL DISTRICT OF CALIFORNIA
HEREDIA BOXING MANAGEMENT, INC.; & MOSES                               CASE NUMBER:
HEREDIA,                                                               5:20-cv-02618-JWH-KKx
                                                    PLAINTIFF(S),
                                 v.
MTK GLOBAL SPORTS MANAGEMENT, LLC; GOLDEN
BOY PRODUCTIONS, INC.; VGC, LLP; PAUL D. GIBSON;                                         NOTICE OF APPEAL
and DANIEL KINAHAN,
                                    DEFENDANT(S).



NOTICE IS HEREBY GIVEN that                                Golden Boy Promotions, Inc.                          hereby appeals to
                                                                  Name of Appellant
the United States Court of Appeals for the Ninth Circuit from:

 Criminal Matter                                                       Civil Matter
    Conviction only [F.R.Cr.P. 32(j)(1)(A)]                             Order (specify): Order Regarding Motion to
    Conviction and Sentence                                           Compel Arbitration (ECF No. 83)
    Sentence Only (18 U.S.C. 3742)
    Pursuant to F.R.Cr.P. 32(j)(2)                                         Judgment (specify):
    Interlocutory Appeals
    Sentence imposed:
                                                                           Other (specify):

    Bail status:


Imposed or Filed on April 11, 2022                      . Entered on the docket in this action on April 11, 2022.

A copy of said judgment or order is attached hereto.

May 11, 2022                                            /s/ Joshua M. Geller
Date                                                    Signature
                                                           Appellant/ProSe             Counsel for Appellant              Deputy Clerk

Note:    The Notice of Appeal shall contain the names of all parties to the judgment or order and the names and addresses of the
         attorneys for each party. Also, if not electronically filed in a criminal case, the Clerk shall be furnished a sufficient number
         of copies of the Notice of Appeal to permit prompt compliance with the service requirements of FRAP 3(d).

A-2 (01/07)                                                NOTICE OF APPEAL                                              American LegalNet, Inc.
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